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                                           EXHIBIT 47



        MIDDLE EAST



        U.S. Suspects That Iran Aids Both Sunni
        and Shiite Militias
        By ALISSA J. RUBIN APRIL 12, 2007
        BAGHDAD, April 11 — Arms that American military officials say appear to have been
        manufactured in Iran as recently as last year have turned up in the past week in a
        Sunni-majority area, the chief spokesman for the American military command in
        Iraq said Wednesday in a news conference.

            The spokesman, Maj. Gen. William B. Caldwell IV, said that detainees in
        American custody had indicated that Iranian intelligence operatives had given
        support to Sunni insurgents and that surrogates for the Iranian intelligence service
        were training Shiite extremists in Iran. He gave no further description of the
        detainees and did not say why they would have that information.

            “We have in fact found some cases recently where Iranian intelligence sources
        have provided to Sunni insurgent groups some support,” said General Caldwell, who
        sat near a table crowded with weapons that he said the military contended were
        largely of Iranian manufacture.

            The weapons were found in a mostly Sunni neighborhood in Baghdad, he said, a
        rare instance of the American military suggesting any link between Iran and the
        Sunni insurgency. It has recently suggested a link with Shiite militants in Iraq.

            The accusation of a link between the Iranian intelligence service and Sunni Arab
        insurgents is new. The American military has contended in the past that elements in




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        Iran have given Shiite militants powerful Iranian-made roadside bombs known as
        explosively formed penetrators, and training in their use.

        Critics have cast doubt on the American military statements about those bombs,
        saying the evidence linking them to Iran was circumstantial and inferential.

            The weapons displayed on Wednesday were more conventional, and officials
        pointed to markings on them that they said indicated Iranian manufacture.

            The display came as the military released figures showing that 26 percent fewer
        civilians were killed and wounded in Baghdad from Jan. 1 through March 31 than
        during the previous quarter, as the new American effort to secure Baghdad got under
        way, but that nationwide civilian casualties had risen.

            From February to March the number of dead and wounded nationwide,
        including civilians and members of Iraqi and American security forces, rose 10
        percent, according to the military report.

            “What does that mean?” General Caldwell said. “It means we still have a lot of
        work to do.”

            The military announced that one soldier died on the eastern side of Baghdad
        from a roadside bomb early Wednesday and that another soldier died in southern
        Baghdad on Tuesday.

            In his statement, General Caldwell renewed American contentions that Iran was
        not doing enough to stop weapons from being moved into Iraq from outside.

            It is unclear from the military’s comments on Wednesday whether it is possible
        to draw conclusions about how the weapons that the military contends are of Iranian
        origin might have made their way into a predominantly Sunni area or why Shiite
        Iran would arm Sunni militants.

            There are several possibilities, military officials who were not authorized to
        speak publicly for attribution said privately. One is that they came through Syria,
        long a transit route for Iranian-made weapons being funneled to the Lebanese Shiite




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        militia Hezbollah. Another possibility is that arms dealers are selling to every side in
        the conflict.

            The weapons on the table next to General Caldwell were found two days ago, the
        general said, after a resident of the predominantly Sunni Arab neighborhood called
        Jihad, in western Baghdad, informed the local Joint Security Station run by Iraqi
        and American soldiers that there were illegal arms in the area.

            The soldiers found a black Mercedes sedan and on its back seat, in plain view, a
        rocket of a type commonly made in China but repainted and labeled and sold by
        Iran, said Maj. Marty Weber, a master ordnance technician who joined General
        Caldwell at the briefing. In the trunk were mortar rounds marked “made in 2006.”

            In a nearby house and buried in the yard, the soldiers found more mortar
        rounds, 1,000 to 2,000 rounds of bullets, five hand grenades and a couple of
        Bulgarian-made rocket-propelled grenades, Major Weber said.

            The weapons that the military officials said were of Iranian origin were labeled
        in English, which Major Weber said was typical of arms manufactured for
        international sale. He added that the military knew that they were of Iranian origin
        by “the structure of the rounds, the geometry of the tailfins and, again, the stenciling
        on the warheads.”

            He also said the mortar rounds marked 81 millimeters on the table were made
        regionally only by Iran.

            In the political arena, the members of Parliament allied with the militant Shiite
        cleric Moktada al-Sadr announced that they would leave the government unless
        Prime Minister Nuri Kamal al-Maliki set a fixed timetable for the withdrawal of
        American troops from Iraq. Mr. Maliki rejected the idea this week.

            The capital was largely quiet on Wednesday, but 16 bodies were found around
        the city and a director general of the city’s electricity ministry was assassinated, an
        Interior Ministry official said. The center of the city, where fighting raged on
        Tuesday, remained extremely tense.




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              The United States military raised the death toll from Tuesday’s estimate to 14
         insurgents in Fadhil killed, 8 detained and 12 wounded.

              Sheik Jasim Yehiya Jasim, the imam of Al Joba mosque, whose brother was
         killed by the Iraqi Army, said he was devastated and confused about why his brother
         had been singled out and killed. “He was born only in 1982,” Sheik Jasim said. “He
         did the call to prayer. I thank the Iraqi and American governments in the name of
         the people of Fadhil for this bloody democracy.”

         Khalid al-Ansary contributed reporting.

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